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IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA

 

UNITED STATES OF AMERICA, )
Plaintiff,
-Vs- No. _ CR-20-67-JD
KENYATA O’ KEEFE THOMAS,
Defendant.
PLEA AGREEMENT
Introduction
1, This Plea Agreement, in conjunction with a Plea Supplement filed

contemporaneously under seal, contains the entire agreement between Defendant Kenyata
O’Keefe Thomas and the United States concerning Defendant’s plea of guilty in this case.
No other agreement or promise exists, nor may any additional agreement be entered into
unless in writing and signed by all parties. Any unilateral modification of this Plea
Agreement is hereby rejected by the United States. This Plea Agreement applies only to
the criminal violations described and does not apply to any civil matter or any civil
forfeiture proceeding except as specifically set forth. This Plea Agreement binds only the
United States Attorney’s Office for the Western District of Oklahoma and does not bind
any other federal, state, or local prosecuting, administrative, or regulatory authority. If
Defendant does not accept the terms of this Plea Agreement by February 26, 2020, the offer

is withdrawn.

 
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Guilty Plea

2. Defendant agrees to enter a plea of guilty to the Information charging one
count of conveying false or misleading information, in violation of Title 18, United States
Code, Section 1038(a)(1). To be found guilty of violating Title 18, United States Code,
Section 1038(a)(1), as charged in the Information, Defendant must admit, and does admit,
that on April 19, 2019, in the Western District of Oklahoma: 1) Defendant knowingly and
intentionally engaged in conduct with the intent to convey false or misleading information;
2) Defendant conveyed such false and misleading information under circumstances in
which such information may reasonably have been believed; and 3) the information
indicated that an activity had taken place, was taking place, or would take place that would
constitute a violation of Title 18, United States Code, Chapter 40.

Maximum Penalty, Restitution, and Special Assessment

3. The maximum penalty that could be imposed as a result of this plea is five
years of imprisonment or a fine of $250,000.00, or both such fine and imprisonment, as
well as a mandatory special assessment of $100.00 and a term of supervised release of three
years.

4. In addition to the punishment described above, a plea of guilty can affect
immigration status. If Defendant is not a citizen of the United States, a guilty plea may
result in deportation and removal from the United States, may prevent Defendant from ever
lawfully reentering or remaining in the United States, and may result in the denial of
naturalization. If Defendant is a naturalized citizen of the United States, a guilty plea may

result in denaturalization.

 
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5. In addition, the Court must order the payment of restitution to any victim(s)
of the offense. Pursuant to 18 U.S.C. §§ 3663(a)(3) and 3663A, the parties further agree
that, as part of the sentence resulting from Defendant’s plea, the Court will enter an order
of restitution to all victims of Defendant’s relevant conduct as determined by reference to
the United States Sentencing Guidelines (the “Guidelines’’).

6. Defendant agrees to pay the special assessment due the United States to the
Office of the United States Court Clerk immediately following sentencing. Defendant
understands that any fine or restitution ordered by the Court is immediately due unless the
Court provides for payment on a date certain or in installments. If the Court imposes a
schedule for payment of restitution, Defendant agrees that such a schedule represents a
minimum payment obligation and does not preclude the United States Attorney’s Office
from pursuing other means by which to satisfy Defendant’s full and immediately
enforceable financial obligations. Defendant accepts a continuing obligation to pay in full,
as soon as possible, any financial obligation imposed by the Court. Defendant further
understands that a failure to abide by the terms of any restitution schedule imposed by the
Court may result in further action by the Court.

7. For certain statutory offenses, the Court must also impose a term of
supervised release, which Defendant will begin to serve after being released from custody.
For all other offenses, the Court may impose a term of supervised release to be served
following release from custody. During the term of supervised release, Defendant will be
subject to conditions that will include prohibitions against violating local, state, or federal

law, reporting requirements, restrictions on travel and residence, and possible testing for

 
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controlled substance use. If Defendant violates the conditions of supervised release, the

Court may revoke Defendant’s supervised release and sentence Defendant to an additional

term of imprisonment. This additional term of imprisonment would be served without

credit for the time Defendant successfully spent on supervised release. When combined,

the original term of imprisonment and any subsequent term of imprisonment the Court

imposes may exceed the statutory maximum prison term allowable for the offense.
Financial Disclosures

8. Defendant agrees to disclose all assets in which Defendant has any interest
or over which Defendant exercises control, directly or indirectly, including those held by a
spouse, nominee, or any other third party. Upon request by the United States, Defendant
agrees (1) to complete truthfully and sign under penalty of perjury a Financial Statement
of Debtor by the change-of-plea hearing, or a date otherwise agreed to by the United States,
and (2) to provide updates with any material changes in circumstances, as described in 18
ULS.C. § 3664(k), within seven days of the event giving rise to the changes. Defendant
understands that the United States will take Defendant’s compliance with these requests
into account when it makes a recommendation to the Court regarding Defendant’s
acceptance of responsibility.

9, Defendant also expressly authorizes the United States Attorney’s Office to
obtain a credit report on Defendant, in order to evaluate Defendant’s ability to satisfy any
financial obligations imposed by the Court. Finally, Defendant agrees to notify the
Financial Litigation Unit (“FLU”) of the United States Attorney’s Office and to obtain

permission from FLU before Defendant transfers any interest in property with a value

 
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exceeding $1,000, owned directly, indirectly, individually, or jointly by Defendant,
including any interest held or owned under any name, including trusts, partnerships, or
corporations. Defendant acknowledges a continuing obligation to notify and obtain
permission from FLU for any transfers of the above-described property until full
satisfaction of any restitution, fine, special assessment, or other financial obligations
imposed by the Court.

Sentencing Guidelines

10. The parties acknowledge that 18 U.S.C. § 3553(a) directs the Court to
consider certain factors in imposing sentence, including the Guidelines promulgated by the
United States Sentencing Commission. Consequently, although the parties recognize that
the Guidelines are only advisory, they have entered into certain stipulations and agreements
with respect to the Guidelines.

The parties agree Defendant should receive a two-level downward adjustment for
Defendant’s acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1(a), if Defendant
commits no further crimes, does not falsely deny or frivolously contest relevant conduct,
and fully complies with all other terms of this Plea Agreement. Further, to the extent the
Court finds Defendant qualifies for that two-level downward adjustment and U.S.S.G. §
3E1.1(b) is applicable, the United States agrees to move for the additional one-level
downward adjustment of § 3E1.1(b) if Defendant accepts the terms of this Plea Agreement

by the deadline established in Paragraph 1.

 
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Apart from any expressed agreements and stipulations, the parties reserve the right
to advocate for, and present evidence relevant to, other Guidelines adjustments and
sentencing factors for consideration by the United States Probation Office and the Court.

11. The parties have entered into this Plea Agreement under the provisions of
Rule 11(c)(1)(A) & (B). Defendant acknowledges and understands that the Court is not
bound by, nor obligated to accept, these stipulations, agreements, or recommendations of
the United States or Defendant. And, even if the Court rejects one or more of these
stipulations, agreements, or recommendations, that fact alone would not allow Defendant
to withdraw Defendant’s plea of guilty. Upon Defendant’s signing of this Plea Agreement,
the United States intends to end its investigation of the allegations in the Indictment and
Information, as to Defendant, except insofar as required to prepare for further hearings in
this case, including but not limited to sentencing, and to prosecute others, if any, involved
in Defendant’s conduct. The United States agrees to end any investigation directed
specifically at the foregoing stipulations, agreements, or recommendations as to Defendant.
However, subject to the terms and conditions of this Plea Agreement and Plea Supplement,
the United States expressly reserves the right to take positions that deviate from the
foregoing stipulations, agreements, or recommendations in the event that material credible
evidence requiring such a deviation is discovered during the course of its investigation after
the signing of this Plea Agreement or arises from sources independent of the United States,

including the United States Probation Office.

 
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Waiver of Right to Appeal and Bring Collateral Challenge

12. Defendant understands that the Court will consider the factors set forth in 18
U.S.C. § 3553(a) in determining Defendant’s sentence. Defendant also understands that
the Court has jurisdiction and authority to impose any sentence within the statutory
maximum for the offense(s) to which Defendant is pleading guilty. Defendant further
understands that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 give Defendant the right to appeal
the judgment and sentence imposed by the Court. Acknowledging all of this, and in
exchange for the promises and concessions made by the United States in this Plea
Agreement, Defendant knowingly and voluntarily waives the following rights:

a. Defendant waives the right to appeal Defendant’s guilty plea, and any
other aspect of Defendant’s conviction, including but not limited to any rulings on pretrial
suppression motions or any other pretrial dispositions of motions and issues.

b. Except as stated immediately below, Defendant waives the right to
appeal Defendant’s sentence as imposed by the Court, including any restitution, and the
manner in which the sentence is determined. If the sentence is above the advisory
Guidelines range determined by the Court to apply to Defendant’s case, this waiver does
not include Defendant’s right to appeal specifically the substantive reasonableness of
Defendant’s sentence;

C. Defendant waives the right to collaterally challenge or move to
modify (under 28 U.S.C. § 2255, 18 U.S.C. § 3582(c)(2), or any other ground) Defendant’s
conviction or sentence, including any restitution, except with respect to claims of

ineffective assistance of counsel.

 
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Defendant acknowledges that these waivers remain in full effect and are
enforceable, even if the Court rejects one or more of the positions of the United States or
Defendant set forth in paragraph 10.

13. Except as stated immediately below, the United States agrees to waive its
right under 18 U.S.C. § 3742 to appeal the sentence imposed by the Court and the manner
in which the sentence was determined. If the sentence is below the advisory Guidelines
range determined by the Court to apply to this case, this waiver does not include the right
of the United States to appeal specifically the substantive reasonableness of the sentence.

Waiver of FOIA and Privacy Act Rights

14. Defendant waives all rights, whether asserted directly or by a representative,
to request of or receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case, including but not limited to
records that Defendant may seek under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act of 1974, 5 U.S.C. § 522a.

Obligations of Defendant

15. Defendant shall commit no further crimes. Should Defendant commit any
further crimes, knowingly give false, incomplete, or misleading testimony or information,
or otherwise violate any provision of this Plea Agreement, the United States will be
released from any obligations, agreements, or restrictions imposed on it under this Plea
Agreement, and the United States may prosecute Defendant for any and all of Defendant’s
federal criminal violations, including perjury and obstruction of justice. Any prosecution

within the scope of this investigation that is not time-barred by the applicable statute of

 
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limitations on the date of the signing of this Plea Agreement may be brought against |
Defendant, notwithstanding the expiration of the statute of limitations between the signing
of this Plea Agreement and the commencement of that prosecution. Defendant hereby
waives all defenses based on the statute of limitations with respect to any prosecution that
is not time-barred on the date that this Plea Agreement is signed.

16. The parties also recognize that if the Court determines Defendant has
violated any provision of this Plea Agreement or authorizes Defendant to withdraw from
Defendant’s knowing and voluntary guilty plea entered pursuant to this Plea Agreement:
(a) all written or oral statements made by Defendant to the Court or to federal or other
designated law enforcement agents, any testimony given by Defendant before a grand jury
or other tribunal, whether before or after the signing of this Plea Agreement, and any leads
from those statements or testimony, shall be admissible in evidence in any criminal
proceeding brought against Defendant; and (b) Defendant shall assert no claim under the
United States Constitution, any statute, Federal Rule of Criminal Procedure 11(f), Federal
Rule of Evidence 410, or any other federal rule or law that those statements or any leads
from those statements should be suppressed. Defendant knowingly and voluntarily waives
Defendant’s rights described in this paragraph as of the time Defendant signs this Plea
Agreement.

Obligations of the United States

17. If Defendant enters a plea of guilty as described above and fully meets all

obligations under this Plea Agreement, the United States Attorney’s Office for the Western

District of Oklahoma will not further prosecute Defendant for any crimes related to

 
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Defendant’s conveying false and misleading information on or about April 19, 2019. This
Plea Agreement does not provide any protection against prosecution for any crime not
specifically described above.

18. Defendant understands that the sentence to be imposed upon Defendant is
within the sole discretion of the Court. The United States does not make any promise or
representation as to what sentence Defendant will receive. The United States reserves the
right to inform the United States Probation Office and the Court of the nature and extent
of Defendant’s activities with respect to this case and all other activities of Defendant that

the United States deems relevant to sentencing.

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Signatures

19. By signing this Plea Agreement, Defendant acknowledges that Defendant
has discussed the terms of the Plea Agreement with Defendant’s attorney and understands
and accepts those terms. Further, Defendant acknowledges that this Plea Agreement, in
conjunction with the Plea Supplement filed contemporaneously under seal, contains the
only terms of the agreement concerning Defendant’s plea of guilty in this case, and that
there are no other deals, bargains, agreements, or understandings which modify or alter
these terms.

Dated this do day of , 2020.

 

TIMOTHY J. DOWNING

 

 

APPROVED: United States Attorney

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